                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION

RICARDO WILLIAMS,                   )
                                    )
         Plaintiff,                 )
                                    )
     vs.                            )             Case No. 4:21 CV 140 CDP
                                    )
CITY OF ST. LOUIS, MISSOURI, et al.,)
                                    )
         Defendants.                )

                        MEMORANDUM AND ORDER

      Plaintiff having amended his complaint as a matter of course under Fed. R.

Civ. P. 15(a)(1)(B),

      IT IS HEREBY ORDERED that the motion to dismiss the complaint [9] is

denied as moot.




                                     CATHERINE D. PERRY
                                     UNITED STATES DISTRICT JUDGE
Dated this 4th day of May, 2021.
